Case 2:15-cv-06527-CAS-AFM Document 21 Filed 02/01/16 Page 1 of 3 Page ID #:210




 United States District Court
 Central District of California

 Nestle USA, Inc                                                                 AFFIDAVIT OF SERVICE
                              Plaintiff
                                                                                 File/Index No.: 2:15-CV-06527 CAS (AFMx)
                         v.
                                                                                 Issued On:
 Pervine Foods, LLC                                                              Alt File/Index No.:
                                                                                 Calendar No.:
                              Defendant




 SERVICE UPON: Pervine Foods, LLC

 STATE OF Pennsylvania, COUNTY OF Allegheny: ss

 HARRY SAUSELEIN being duly sworn, deposes and says: I am not a party to the within action, am over the
 age of 18 years and reside in the State of Pennsylvania.

 On 12/22/2015 at 1:15 PM at 111 Terence Drive, Pittsburgh, PA 15236, I effected service of process of the
 following documents: Summons in a Civil Action; Complaint; Plaintiffs Notice of Interested Parties, Report
 of Filing of Determination; Exhibits upon Pervine Foods, LLC, a/the Defendant in this matter/proceeding:

 by delivering to and leaving a true copy thereof with Anton Moik, who is a/the Manager/Authorized Agent of/for
 Pervine Foods, LLC.

 I describe the recipient at the time of service as follows: Gender: Male Race/Skin: White Age: 35 Height: 6'0"
 Weight: 200 Hair: Dark




 Subscribed and sworn before me on     3 TAO
                                                                    HARRY SAUSELEIN
                                                                    Target Research & Investigation
 Notary Public:   MA/0--061                CLO                      233 Broadway, Suite 2065,
 Notary #:         Qualified in County: A (_,(_,66-(4/   6-4)       New York, NY 10279
 My Commision expires on: A AC        (                  0/ P       (212) 227-9600

   COMMONWEALTH OF PENNSYLVAN A
               NOTARIAL SEAL                                                                                  Order #:T81036
        Marianne Scolieri, Notary Public                 Corporate Delivery to a person
       Penn Hills Two.. Allegheny County
      My Commission Expires April 28, 2019
 Case
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                                                                        #:211


       (Rev. 06/12) Summons
AO 440 (Rev.        Summons in     Civil Action
                             in aa Civil


                                       UNtrpo STATES
                                       UNITED STATBS DISTRICT
                                                     DTSTruCT COURT
                                                                       for the
                                                                               California
                                                           Central District of California


                      NESTLE
                      NESTLÉ USA, INC.
                                  INC                                    )
                                                                         )
                                                                         )
                                                                         )
                             Plaintiffs)
                             Plaintiff(s)                                )
                                  v.
                                                                         )               ActionNo.
                                                                                   Civil Action No.   2:15-cv-06527 CAS(AFMx)
                                                                         )
                   PERVINE FOODS, LLC
                   PERVINE FOODS, LLC                                    )
                                                                         )
                                                                         )
                                                                         )
                            Defendant(s)
                            Defendant(s)                                 )

                                                      SUMMONS IN
                                                      SUMMONS     A CIVIL
                                                               IN A CIVIL ACTION

To: (Defendant's
    (Defendant's name     address) Pervine
                 name and address) Pervine Foods,
                                           Foods, LLC
                                            111
                                            111 Terence Drive
                                                         Drive
                                            Pittsburgh,
                                            Pittsburgh, Pennsylvania   5236
                                                        Pennsylvania'115236




          A lawsuit has been filed against you.

          Within  2l days after
          Within 21         afrer service of this summons
                                                  summons on you (not  (not counting
                                                                             counting the day                 it) — or 60 days if you
                                                                                           day you received it)
are the United States
                 States or
                        or aa United States
                                      States agency,
                                             agency, oror an
                                                          an officer
                                                              officer or
                                                                      or employee
                                                                          employee ofof the United States
                                                                                        the United
                                                                                                                  - inin Fed.
                                                                                                   States described
                                                                                                            described            R. Civ.
                                                                                                                            Fed. R. Civ.
P.
P . 12
    12 (a)(2) or (3)
                 (3 ) — you must
                              must serve
                                    serve on
                                          on the
                                              the plaintiff an
                                                             an answer
                                                                answer toto the attached
                                                                                attached complaint
                                                                                          complaint or
                                                                                                     or aa motion under Rule 12      of
                                                                                                                                  12 of
the Federal
     Federal Rules
              Rules of- Civil
                        Civil Procedure. The
                                           The answer
                                                 answer oror motion
                                                              motion must
                                                                      must be   served on the plaintiff or plaintiff
                                                                             be served                      plaintiff'ss attorney,
                                                                                                                         attomey,
whose name and address       are: MAYER
                    address are:     MAYER BROWN LLP
                                            Dale Giali
                                            Dale J. Giali(Bar No.
                                                              No.
                                                           (SBN   150382)
                                                                  150382)
                                                                150382)
                                            350 South Grand
                                                          Grand Ave., 25th Floor
                                            Los Angeles, California 90071
                                            Los Angeles,               90071




       If you fail to respond,
                      respond, judgment by
                                         by default will be
                                            default will be entered
                                                            entered against you for
                                                                    against you  for the  relief demanded
                                                                                      the relief           in the
                                                                                                 demanded in      complaint.
                                                                                                              the complaint.
You also must file your answer oror motion with the court.
                                                    court.



                                                                                      CLERK
                                                                                      CLERI{ OF COURT


Date:
Date                08/27/2015
                                                                                                Signature
                                                                                                Signature of Clerk or Deputy
                                                                                                                      Deputy Clerk
   Case
   Case2:15-cv-06527-CAS-AFM
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             06/12) Summons
AO 440 (Rev. 06/12) Summons in     Civil Action (Page 2)
                             in aa Civil

 Civil Action No.
              No 2:15-cv-06527 CAS(AFMx)

                                                        PROOF
                                                        PROOF OF SERVICE
                       (This
                       (This section should not be filed with
                                                be liled with the
                                                               the court
                                                                   court unless
                                                                         unless required
                                                                                 requtred by
                                                                                          by Fed. R.Civ.
                                                                                             Fed. R. Cìv. P.    (lÐ
                                                                                                          P. 44(1))

           This summons for
                        for (name
                            (name of individual
                                     individual and title, if any)

                    oî (date)
 was received by me on

           D I personally served the summons on the individual at (place)
           11                                                     þlace)
                                                                                   on (date)                            ;;or
                                                                                                                          or

           D I left the summons
           O            summons at the individual's residence
                                                    residence or
                                                              or usual          abodewith
                                                                 usual place of abode with (name)
                                                                                           (nane)

                                                                   ,, a person of suitable age and
                                                                               ofsuitable      and discretion who resides there,
           on (date)                                 ,, and mailed a copy
                                                                     copy to the individual's last
                                                                                              last known
                                                                                                   known address;
                                                                                                         address; or

           D I served the summons
           O              summons on (name
                                     (name of individual)
                                              individual)                                                                        ,, who is
            designated
            designated by law to accept service
                                        service of process on behalf of (name of organization)
                                                                                   on (date)                            ;;or
                                                                                                                          or

           fl I returned
           O    returned the summons unexecuted
                                     unexecuted because                                                                               ; or

           D Other (specify):
           O       (specifu):




           My fees are $                             for travel and $                                            of$
                                                                                       for services, for a total of $          0.00


           I declare under penalty of perjury that this information
                                                        information is true.
                                                                       true



 Date:
 Date
                                                                                               Server's
                                                                                               Semer's signature
                                                                                                        signature



                                                                                           Printed
                                                                                           Prinled name and title




                                                                                               Server's
                                                                                               Server's address
                                                                                                        address


 Additional
 Additional information
            information regarding attempted
                                  attempted service,
                                            seryice, etc:
                                                     etc:
